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11

12                                UNITED STATES DISTRICT COURT

                                          DISTRICT OF NEVADA
13
     COREY GERWASKI,                                    Case No. 2:24-cv-00985- APG-MDC
14
                  Plaintiff,
15
                          v.
16   STATE OF NEVADA, ex rel. BOARD
     OF REGENTS of the NEVADA
17                                                      DR. HATEM BAZIAN’S MOTION TO QUASH
     SYSTEM OF HIGHER EDUCATION,
                                                        OR STRIKE IMPROPER SERVICE
     on behalf of the UNIVERSITY OF
18   NEVADA, LAS VEGAS; KEITH
     WHITFIELD, individually; AJP
19   EDUCATIONAL FOUNDATION INC.,
     a California Non-Profit Corporation;
20   STUDENTS FOR JUSTICE OF
     PALESTINE-UNLV; NATIONAL
21   STUDENTS FOR JUSTICE OF
     PALESTINE; NEVADANS FOR
22   PALESTINIAN LIBERATION;
      DOES I-XX and ROE entities I-XX,
23
                  Defendants.
24
     *The Constitutional Law Center for Muslims in America is the legal division of the Muslim Legal Fund
     of America.
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 1          Dr. Hatem Bazian (“Dr. Bazian”) by and through his counsel, respectfully requests this Court

 2   exercise its inherent authority to quash or strike service (ECF No. 49) for failure to properly serve a party

 3   pursuant to Fed. R. Civ. P. 4(e)(1) and 4(e)(2)(C) and award him attorneys’ fees and costs related to

 4   bringing this Motion.

 5

 6                                                         Respectfully submitted,

     Dated: March 27, 2025
 7

 8
                                                           /s/ Margaret A. McLetchie
 9                                                         Margaret A. McLetchie (NV Bar No. 10931)
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21                                                         *The Constitutional Law Center for Muslims in
                                                           America is the legal division of the Muslim Legal
22                                                         Fund of America

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 2

 3                              UNITED STATES DISTRICT COURT
 4                                    DISTRICT OF NEVADA

 5   COREY GERWASKI,                                  Case No. 2:24-cv-00985- APG-MDC

                 Plaintiff,
 6
                         v.
 7
     STATE OF NEVADA, ex rel. BOARD
 8   OF REGENTS of the NEVADA
     SYSTEM OF HIGHER EDUCATION,
                                                      MEMORANDUM OF POINTS AND
 9   on behalf of the UNIVERSITY OF
                                                      AUTHORITIES IN SUPPORT OF
     NEVADA, LAS VEGAS; KEITH
                                                      DR. HATEM BAZIAN’S MOTION TO QUASH
10   WHITFIELD, individually; AJP
                                                      OR STRIKE IMPROPER SERVICE
     EDUCATIONAL FOUNDATION, INC.,
11   a California Non-Profit Corporation;
     STUDENTS FOR JUSTICE OF
12   PALESTINE-UNLV; NATIONAL
     STUDENTS FOR JUSTICE OF
13   PALESTINE; NEVADANS FOR
     PALESTINIAN LIBERATION;
14    DOES I-XX and ROE entities I-XX,

15               Defendants.

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 1                                            I.      INTRODUCTION

 2          Rather than serve Defendant National Students for Justice in Palestine (“NSJP”), Plaintiff served

 3   Dr. Hatem Bazian (“Dr. Bazian”). Dr. Bazian is not a party to this action. And no law designates him to

 4   receive service for NSJP. Dr. Bazian is a professor and lecturer at the University of California, Berkeley.

 5   His academic focus incudes Arab and Arab American studies, colonialism and post-colonial studies, and

 6   Islamophobia studies. Though Dr. Bazian has been involved in the creation of many organizations over

 7   the years, including AJP Educational Foundation, Inc., a Defendant in this case, AMP, as well as the first

 8   accredited Muslim undergraduate college in the U.S., Zaytuna College, Dr. Bazian did not create the

 9   organization known as National Students for Justice in Palestine (“NSJP”), nor any Students for Justice

10   in Palestine (“SJP”) chapter. Dr. Bazian has never held any role with NSJP or any SJP chapter. Despite

11   this, Plaintiff served Dr. Bazian as a representative of NSJP (ECF No. 49). Even when Dr. Bazian’s

12   counsel provided Plaintiff’s counsel with evidence that Dr. Bazian is not, and never has been, affiliated

13   with NSJP, Plaintiff did not withdraw the proof of service he filed. Dr. Bazian therefore moves to strike

14   the Proof of Service Plaintiff filed listing him as the individual served on behalf of NSJP.

15                          II.    FACTUAL AND PROCEDURAL BACKGROUND

16          Plaintiff filed this case on May 26, 2024, and amended his complaint on August 9, 2024. ECF

17   Nos. 1 and 6. Plaintiff moved on October 10, 2024 for an extension of time to serve, among others, NSJP,

18   and for leave to serve by publication. ECF No. 27. This Court granted Plaintiff’s motion for extension to

19   serve NSJP until February 28, 2025, but denied the request to serve by publication. ECF No. 47. On

20   February 23, 2025, Plaintiff served Dr. Bazian at his home with a summons for NSJP. ECF No. 49.

21   Counsel for Dr. Bazian promptly contacted Plaintiff’s counsel and informed them that Dr. Bazian is not

22   a representative of NSJP. See Exhibit A, Communication between counsel at 2. Plaintiff’s counsel

23   informed Dr. Bazian’s counsel that she would move forward filing the proof of service on Dr. Bazian,

24   and did so on that day. Exhibit A at 2; ECF No. 49. Dr. Bazian’s counsel subsequently sent Plaintiff’s


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 1   counsel the attached Declaration from Dr. Bazian, attesting that he has no relationship to NSJP. Exhibit

 2   A at 1. Plaintiff’s counsel still has not withdrawn the proof of service so this Motion follows.

 3          Plaintiff cannot meet his burden set forth below and this Motion should be granted.

 4                                               III.    ARGUMENT

 5   A.     Legal Standard

 6          Fed. R. Civ. P. 4(e)(1) and 4(e)(2)(C) required Plaintiff to either follow state law governing

 7   service or deliver a copy of the summons and complaint to “an agent authorized by appointment or by

 8   law to receive service of process.” Plaintiff has the burden to establish service was proper. Robinson v.

 9   Circa Resorts LLC, No. 2:21-cv-01646-ART-BNW, 2022 U.S. Dist. LEXIS 213424, at *4-5 (D. Nev.

10   Nov. 28, 2022) (citation omitted). Where service is improper, the Court may quash service. See Stevens

11   v. Security Pac. Nat'l Bank, 538 F.2d 1387, 1389 (9th Cir.1976) (the district court has discretion to dismiss

12   an action or to quash service). Alternatively, a court may strike documents pursuant to this Court’s

13   “inherent authority to manage its docket and discretion to strike improper documents from the record,”

14   Dahar v. Pennymac Loan Servs., LLC, Case No. 2:23-cv-01020-CDS-MDC, 2024 U.S. Dist. LEXIS

15   112200, at *3-4 (June 25, 2024).

16          Further, the Court has authority to make clear where a person does not fall within the jurisdiction

17   of the Court.

18   B.     Service on Dr. Bazian is Invalid

19          Plaintiff’s service on Dr. Bazian is invalid because he has no affiliation with NSJP and no statute

20   or rule designates him to receive service for NSJP. Dr. Bazian is not the founder of NSJP or any Students

21   for Justice in Palestine (“SJP”) chapter anywhere in the country. See Exhibit B, Declaration of Dr. Hatem

22   Bazian, at ¶¶ 9-10; see also Arno Rosenfeld, The secret history and uncertain future of Students for

23   Justice in Palestine, FORWARD (Dec. 20, 2023), https://forward.com/news/574014/students-for-justice-

24   in-palestine-history-operations-network-national-sjp/ (identifying a bookseller currently living in Jordan


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 1   as the founder of the first organization known as SJP at University of California, Berkeley). Dr. Bazian

 2   has not served in any leadership position with NSJP or any SJP chapter. See Exhibit B at ¶¶ 15-16.

 3   Further, neither the Federal Rules of Civil Procedure, nor the Local Rules of this Court, nor the Nevada

 4   Rules of Civil Procedure, nor any federal or Nevada statute designate Dr. Bazian as a proper person to

 5   serve for NSJP. See, e.g., Nev. R. Civ. P. 4.2(c)(2) (dictating that a one may serve a foreign entity through

 6   “any officer, director, partner, member, manager, trustee, or agent… located within this state”). Plaintiff’s

 7   service on Dr. Bazian fails to hail Dr. Bazian or NSJP into this Court. Therefore, the service should be

 8   quashed or stricken pursuant to the authority above.

 9   C.     This Court Has No Jurisdiction Over Dr. Bazian in this Matter

10          This Court has no personal jurisdiction over Dr. Bazian in this matter because he is not subject to

11   general jurisdiction in the state of Nevada, nor does Plaintiff identify any of Dr. Bazian’s contacts with

12   the state of Nevada that could establish this Court’s jurisdiction. Dr. Bazian lives and works in California,

13   and so is not subject to the general personal jurisdiction of this Court. See Exhibit B at ¶ 17; See Bristol-

14   Myers Squibb Co. v. Superior Court, 582 U.S. 255, 262 (2017) (reiterating that the forum for general

15   personal jurisdiction over an individual is that individual’s domicile). Further, he is not subject to specific

16   personal jurisdiction in Nevada, as he does not have sufficient relevant contacts to establish specific

17   personal jurisdiction. Id. (emphasizing that the suit must arise out of or relate to the defendant’s contacts

18   with the forum). Plaintiff pleads no facts about Dr. Bazian’s contacts with Nevada, and certainly none

19   sufficient to vest this Court with jurisdiction. See generally Int’l Shoe Co. v. Wash., 326 U.S. 310, 316

20   (1945) (explaining that due process requires plaintiffs to show minimum contacts with the forum “such

21   that the maintenance of the suit does not offend notions of fair play and substantial justice”).

22                                               IV.     CONCLUSION

23          Plaintiff’s counsel decided to serve Dr. Bazian as a representative of NSJP and file that Proof of

24   Service with this Court. Plaintiff served Dr. Bazian on February 23, and his counsel communicated with


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 1   Plaintiff’s counsel on February 24, leaving four days for Plaintiff to serve an appropriate individual for

 2   NSJP prior to the deadline, and Plaintiff failed to do so. In an effort to avoid any legal implications in his

 3   personal capacity, Dr. Bazian respectfully requests that this Court quash or strike the improper service.

 4

 5                                                          Respectfully submitted,

 6   Dated: March 27, 2025

 7

 8                                                          /s/ Margaret A. McLetchie
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                                                            Counsel for Dr. Hatem Bazian
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 1                                       CERTIFICATE OF SERVICE

 2          The undersigned counsel certifies that on March 27, 2025, he caused the foregoing to be served

 3   by electronically filing with the Clerk of the Court for the District of Nevada using the CM/ECF system,

 4   and thereby serving by e-mail notification upon counsel for all parties of record.

 5
                                                                          Leo S. Wolpert
 6                                                                        Leo S. Wolpert
                                                                          Employee of MCLETCHIE LAW
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